Case 1:04-cr-10066-.]DT Document 33 Filed 04/18/05 Page 1 of 3 Page|D 49

also 5>/_____`_` 4 C
IN THE UNITED sTATEs DIsTRiCT CoURS&'ECm
FoR THE WESTERN DISTRICT oF TENNES §1°1?18 Pn g. §§

EASTERN DIVISION
c'e§§ § 191 119010
WD_ n,:`r §§;.“ 549151-'0

UNITED STATES OF AMERICA, MSO!(\,;I

Plaintif`f`,

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)
)
)
vs. ) NO. 1-04-10066-T-An
)
JEREMY CoLE sANDERs, )

)

)

Def`endant.

 

ORDER GRANTING INFORMA PA UPERIS STATUS AND APPOINTING COUNSEL

 

On November 10, 2004, Def`endant Jeremy Cole Sanders pled guilty to conspiracy
to manufacture and/or distribute methamphetamine in violation of 21 U.S.C. § 846 and Was
sentenced to a term of sixty~three months of imprisonment On February 24, 2005,
Defendant filed a notice of appeal from the final judgment Bef`ore the court is Def`endant’s
motion for in forma pauperis status and for the appointment of counsel. The court has
considered the information contained in Defendant’s financial affidavit and finds that he is,
indeed, indigent Theref`ore, Def`endant’s motion for in forma pauperis status is GRANTED.
In addition, the request to appoint counsel is GRANTED. Pursuant to Sixth Circuit
Supplemental Procedural Rule 101(a), Harold E. Dorsey Will be responsible for the

continued representation of Defendant on appeal unless specifically relieved by the Sixth

Th|s document entered on the docket sheet ln compliance
with Rule 55 and/or 32(b) FHCrP on

Case 1:04-cr-10066-.]DT Document 33 Filed 04/18/05 Page 2 of 3 Page|D 50

Circuit.

IT IS SO ORDERED.

  

ED STATES DISTRICT JUDGE

/§ M 96'05"'

DATE '

ISTRIC COURT - WESERNT D"'TRCT 0 TESSEE

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109 S. Highland Ave.
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Honorable J ames Todd
US DISTRICT COURT

